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                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF NORTH DAKOTA

United States of America,            )
                                     )
              Plaintiff,             )       AMENDED ORDER GRANTING
                                     )       MOTION FOR RELEASE
       vs.                           )
                                     )
Mark Randall Carlson,                )       Case No. 1:23-cr-097
                                     )
              Defendant.             )


       Defendant is in Marshals Service custody at Heart of America Correctional and Treatment

Center in Rugby, North Dakota. On October 17, 2023, he filed a Motion for Release. (Doc. No.

137). He advises that he has secured a placement in a residential treatment program at Providence

House in Arnegard, North Dakota. He requests that the court release him on October 19, 2023, so

that he may travel to Providence House and participate in treatment.

       There being no objection from the United States, the court GRANTS Defendant’s motion

(Doc. No. 137). Defendant shall be released no earlier than 10:00 AM on October 19, 2023, to

Providence House staff or other person(s) approved by the Pretrial Services Office for immediate

transport to Providence House. Defendant's release is subject to the following conditions:

       (1)    Defendant shall not violate federal, state, tribal, or local law while on release.

       (2)    Defendant shall appear in court as required and surrender for any sentence imposed.

       (3)    Defendant shall refrain from the use of alcohol; any use or possession of a narcotic

              drug and other controlled substances defined in 21 U.S.C. § 802 or state statute,

              unless prescribed by a licensed medical practitioner, and any use of inhalants.

              Defendant shall submit to drug/alcohol screening at the direction of the Pretrial


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      Services Officer to verify compliance. Failure or refusal to submit to testing or

      tampering with the collection progress or specimen may be considered the same as

      a positive test.

(4)   Defendant shall contact Pretrial Services Officer Stephanie Cherney at (701)

      5302396 within 48 hours of his release and shall thereafter report to the Pretrial

      Services Officer at such times and in such manner as designated by the Officer.

(5)   Defendant shall not possess a firearm, destructive device, or other dangerous weapon.

(6)   Defendant shall not knowingly or intentionally have any direct or indirect contact

      with witnesses or co-defendants, except that counsel for Defendant, or counsel's

      agent or authorized representative, may have such contact with such person(s) as is

      necessary in the furtherance of Defendant's legal defense.

(7)   Defendant shall reside at Providence House, fully participate in its programming, and

      comply with all of its rules and regulations.

(8)   Defendant must sign all release forms to allow the Pretrial Services Officer to obtain

      information from Providence House OR to communicate with Providence House

      staff about his progress in the program.

      Any passes allowed by Providence House must be approved by the Pretrial Services

      Officer.

      If for any reason Defendant is terminated from Providence House’s treatment

      program, he must immediately report to the United States Marshal.

      At least 96 hours prior to the anticipated completion of the treatment program,

      Defendant must advise the Pretrial Services Officer of his anticipated completion


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       date so the court may schedule a hearing to review his release status.

(9)    Defendant shall submit his person, residence, vehicle, and/or possessions to a search

       conducted by a Pretrial Services Officer at the request of the Pretrial Services

       Officer. Failure to submit to a search may be grounds for revocation of his release.

       Defendant shall notify any other residents that the premises may be subject to

       searches pursuant to this condition.

(10)   Defendant must report as soon as possible, to the Pretrial Service Office or his

       supervising Pretrial Service Officer, every contact with law enforcement personnel,

       including arrests, questioning, or traffic stops.

IT IS SO ORDERED.

Dated this 17th day of October, 2023.
                                              /s/ Clare R. Hochhalter
                                              Clare R. Hochhalter, Magistrate Judge
                                              United States District Court




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